Case 2:23-cv-02084-GRB-ST Document 101 Filed 12/07/23 Page 1 of 10 PageID #: 1100



  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK


  SITEONE LANDSCAPE SUPPLY, LLC,

         Plaintiff,
                                                           REPLY IN SUPPORT OF PLAINTIFF’S
  v.                                                       OBJECTIONS TO MAGISTRATE JUDGE
                                                           TISCIONE’S REPORT AND
  NICHOLAS GIORDANO; DOMINICK CAROLEO;                     RECOMMENDATION
  VICTOR CAROLEO; NARROW WAY REALTY,
  LTD.; NARROW WAY 2 LLC; THE GARDEN                       ORAL ARGUMENT REQUESTED
  DEPT. CORP.; GROUP 5 ASSOCIATES, LTD.;
  3670 ROUTE 112 LLC; 9 4TH ST. LLC; SCAPES                Civil Action No.: 2:23-CV-02084-GRB-ST
  SUPPLY, LLC; NEWAY MANAGEMENT, LLC;
  AND NEWAY TRUCKING;

         Defendants.


                                             INTRODUCTION

         This is a simple case: SiteOne purchased Garden Department for $30+ million and asked only

  that Defendants act in good faith and honor the deal they made, including not competing with SiteOne.

  This Court was appropriately concerned at the March 2023 hearing in this case that the optics of this

  case “do[n’t] look great,” anticipating that Defendants may have engaged in a “thinly veiled attempt to

  end run [the] agreement.” This Court’s suspicions were entirely accurate.

         To that end, Defendants make two disingenuous arguments in response to SiteOne’s Objections

  to Magistrate Judge Tiscione’s Report and Recommendation—neither of which are addressed in the

  R&R or in SiteOne’s objections.

         First, Defendants contend that the geographic scope and duration of the non-compete at issue

  are overbroad, rendering it unenforceable. Defendants cite no authority—not a single case—to support

  their position with respect to the geographic reasonableness, and the case they cite regarding duration

  was decided in the context of a decade-long restriction in an employment agreement. Defendants ignore
Case 2:23-cv-02084-GRB-ST Document 101 Filed 12/07/23 Page 2 of 10 PageID #: 1101




  New York case law directly on point in which non-competes in lease agreements, far broader than the

  one at issue here, were held valid and enforceable.

          Second, Defendants incorrectly contend the stricter standard for evaluating the enforceability of

  a non-compete in the context of an employment agreement should apply here—as opposed to the more

  lenient reasonableness test used in the context of the sale of a business. The problem with Defendants’

  position is that the non-compete here is entirely unrelated to Vic’s past, present, or future employment—

  the non-compete is contained in a commercial lease agreement for real property executed as part of an

  asset purchase agreement. Nothing in the Coram Lease mentions Vic being employed by SiteOne or

  restricts Vic in his employment or from working for a competitor. Although Vic became a SiteOne

  employee sometime after the purchase of Garden Department by SiteOne (Vic was hired by his son,

  Don), nothing in the Coram Lease suggests that it was connected in any way to employment by SiteOne

  to warrant applying the stricter standards applicable to non-competes in the employment context.

          Both of Defendants’ new arguments fail and should not be adopted by this Court.

                                                ARGUMENT

 I.       The Geographic Scope and Duration of the Non-Compete Are Reasonable.

          Defendants incorrectly contend that the non-compete in the Coram Lease is unenforceable

  because the geographic scope and duration are unreasonable. (ECF Doc. No. 98 p. 20.) This argument

  is meritless and must be rejected.

          The Coram Lease prohibits—as relevant here—leasing or making available any land or building

  to any person or business entity engaging in a business activity that competes with SiteOne within 10

  miles of SiteOne’s Coram location during the lease and for 12 months thereafter. (Am. Compl. ¶ 36;

  Ex. 2.) It is undisputed by all parties here that Vic is both leasing and making available land (and a

  building) to Defendant Scapes Supply well within the restricted 10-mile radius.




                                                        2
Case 2:23-cv-02084-GRB-ST Document 101 Filed 12/07/23 Page 3 of 10 PageID #: 1102




          A case directly on point and addressing both the geographic and durational components of a

  lease agreement non-compete is Evans Prod. Co. v. Decker, 52 A.D.2d 991 (3d Dep’t 1976). In Evans,

  the parties entered into an asset purchase agreement for the plaintiffs’ building supply business. Id. at

  991. The parties also entered into a lease agreement in conjunction with the purchase agreement for the

  premises on which the plaintiff would operate the business. Id. The lease contained a non-compete

  which prohibited the defendants from competing within the entire State of New York for a period of

  15 years. Id. The lease contained an option for the plaintiff to purchase the land, and, if exercised, the

  non-compete would apply for 15 years from the exercising of the option but only within the counties of

  Essex and Franklin. Id. The defendants subsequently opened a competing business in Saranac Lake. Id.

  at 992. The Supreme Court and the Third Department both found in the plaintiff’s favor, holding that

  the statewide, 15-year non-compete was valid and enforceable. Id. at 993.

          New York law is clear that in the context of a restrictive covenant in a lease agreement, the

  restriction must be enforced “when the intention of the parties is clear and the limitation is reasonable.”

  Deer Cross Shopping LLC v. Stop & Shop Supermarket Co., 2 Misc. 3d 401, 405 (Sup. Ct., N.Y. Cnty.,

  2003). It is beyond dispute that SiteOne’s $30+ million decision to acquire Garden Department was

  based on the location of the business’s existing stores and the business’s relationships with its local

  customers. The Coram Lease, a critical part of SiteOne’s purchase, governs the land on which Garden

  Department’s flagship store sits. The non-compete in the lease is a reasonable and essential means to

  ensure SiteOne’s investment by protecting the value of the Coram property, which is geographically

  proximate to Garden Department’s customer base.

          Defendants contend that the geographic scope of the non-compete in the Coram Lease is

  unreasonable “due to its combination with the other leases.” (ECF Doc. No. 98 p. 20.) Defendants

  provide no legal authority for this novel argument which appears to suggest that the Court should




                                                      3
Case 2:23-cv-02084-GRB-ST Document 101 Filed 12/07/23 Page 4 of 10 PageID #: 1103




  aggregate the geographic scopes of legally separate and distinct lease agreements (the other two of

  which are not currently at issue in this case and are between different contracting parties which are not

  currently defendants in this case1) to determine the reasonableness of the Coram Lease’s non-compete.

  Doing so would effectively ignore the intent of each lease agreement—protecting SiteOne’s investment

  in the specific locations—and undermine and negate the protections afforded those assets specifically

  bargained for in each contract. There is no rational or logical basis to adopt such a radical approach.

          As to duration, the non-compete runs during the term of the lease and for one year thereafter.

  (Am. Compl. ¶ 36; Ex. 2.) The Coram Lease is for an initial four-year term (January 1, 2020 to

  December 31, 2024), with SiteOne having the option to renew for three additional three-year terms.

  (Id.) Defendants argue that the resulting “up-to 14-year time restriction, which is left at the mercy of

  SiteOne, is unreasonable in duration.” (ECF Doc. No. 98 p. 20.) This argument should be rejected, as

  New York courts have routinely enforced non-competes in lease agreements of much longer durations.

          In addition to Decker, supra, In re Hirschhorn, 156 B.R. 379 (Bankr. E.D.N.Y. 1993), addresses

  a non-compete restriction lasting 14 years. In that case, a physician, via his company, leased office space

  from a property owner for his practice. The lease contained a non-compete restricting the lessee and its

  “officers, directors and shareholders” from opening another practice within six blocks during the term

  of the lease and for two years after its expiration. Id. at 382. The lease—together with the incorporated

  non-compete—began in 1983 and was renewed for a second seven-year term in 1990. Id. at 384. Then,

  in 1993 during bankruptcy proceedings, the physician left the space and started a practice across the

  street under a different entity. Id. at 382. The landlord sought a preliminary injunction to enforce the

  non-compete. Id. The Court granted the injunction request despite the physician’s claims that this would


  1
    The other two lease agreements referenced by Defendants are for Garden Department’s Speonk and Dix Hills locations.
  The Speonk lease agreement is between SiteOne and 3 Girls 1 Boy LLC—which is not a party to this case. The Dix Hills
  lease agreement is between SiteOne and Don Caroleo Ventures LLC—also not a party to this case.



                                                           4
Case 2:23-cv-02084-GRB-ST Document 101 Filed 12/07/23 Page 5 of 10 PageID #: 1104




  significantly impact his ability to earn a living. Id. at 385. The Court stated: “[I]t is abundantly clear that

  the restrictive covenant at issue is reasonable in duration and geographic scope.” Id. That 14-year period

  is the identical to the non-compete in the Coram Lease.

          Similarly, in Deer Cross Shopping LLC v. Stop & Shop Supermarket Co., 2 Misc. 3d 401, 402

  (Sup. Ct. N.Y. Cnty. 2003), the parties entered a 25-year commercial property lease with options to

  renew for three consecutive 10-year terms. The lease contained a covenant preventing the landlord from

  leasing any space to a supermarket. Id. The provision was found to be fully enforceable. Id. at 406.

  Other courts take a similar approach and routinely enforce non-competes in leases. In Acme Markets,

  Inc. v. Wharton Hardware & Supply Corp., 890 F. Supp. 1230 (D.N.J. 1995), the District Court

  considered on summary judgment whether an indefinite noncompetition covenant originally contained

  in a deed executed in 1957 was enforceable 37 years later. Id. The original owners of a 111-acre farm

  sold a 12-acre parcel to a supermarket chain. Id. at 1235. The sale was conditioned on the original

  owners, “[their] heirs, and assigns” entering a non-compete prohibiting the remaining land from being

  leased or used for a supermarket. Id. The Court held: “[T]he covenant at issue was designed to last as

  long as the dominant estate operates a food market, we hold that the covenant was reasonable as to

  duration at the time the covenant was drafted.” Id.; Texhoma PEG Bandwidth TX, LLC v. Texhoma

  Fiber, LLC, 299 F. Supp. 3d 836, 839 (E.D. Tex. 2018) (enforcing 30 year non-compete in lease

  agreement). The non-compete in the Coram Lease is reasonable as a matter of law.

          The two cases Defendants cite in support of their argument regarding the duration of the non-

  compete do not involve lease agreements and, for that reason and others, fail to support their argument.

  Defendants first curiously cite Uni-World Capital L.P. v. Preferred Fragrance, Inc., 73 F. Supp. 3d 209,

  235 (S.D.N.Y. 2014), in which the court actually found the non-compete reasonable and enforceable.




                                                        5
Case 2:23-cv-02084-GRB-ST Document 101 Filed 12/07/23 Page 6 of 10 PageID #: 1105




          In Uni-World, the defendant and his fellow stockholders sold their imitation-fragrance business

  to plaintiff. Id. at 211. In connection with that sale of business, defendant became the president and CEO

  of the new company and signed three-year and five-year non-compete agreements. Id. The defendant

  was subsequently fired from the new business. Id. Plaintiffs brought an action against defendant alleging

  fraud in connection with the sale of the business and for breach of contract for violating the non-compete

  agreements by working with two entities that competed with plaintiffs’ business. Id. The plaintiffs filed

  a motion for a preliminary injunction to prevent defendant from competing with the business they

  acquired from him. Id. The defendant challenged the five-year non-compete as being excessive because

  the duration was equal to nearly one-third of his 15-year experience in the industry. Id. at 235. The Court

  rejected the defendant’s argument and found that, “New York courts have found three to five year

  restrictions reasonable in the context of the sale of a business.” Id. (citation omitted). While Uni-World

  involved a non-compete executed in connection with a sale of business, it was not in connection with a

  lease agreement. Further, the Court found the non-competes at issue to be enforceable. It is thus entirely

  unclear how a Court’s finding that a five-year employment non-compete agreement executed in

  connection with the sale of a business supports Defendants’ argument.

          Defendants also cite Martarello v. TLM Cover All Feed Supply, 2020 N.Y. Misc. LEXIS 6382,

  at *8 (Sup. Ct., Suffolk Cnty. Feb. 4, 2020) for the same proposition as Uni-World. (ECF Doc. 98 p.

  20.) In Martarello, the defendant executed a restrictive covenant in connection with her employment

  with plaintiffs. Id. at *2–3. The non-compete at issue in Martarello was for a ten-year term and did not

  include a geographic restriction. Id. The defendant was later terminated from her employment and

  formed a competing business. Id. at *3. The plaintiffs sought to enforce the non-compete agreement

  included in the defendant’s employment agreement. Id. at *4. The Court in Martarello found that “[t]he

  ten year time restriction and the absence of a geographic restriction causes this covenant to be overly




                                                      6
Case 2:23-cv-02084-GRB-ST Document 101 Filed 12/07/23 Page 7 of 10 PageID #: 1106




  broad and unreasonably burdensome to the employee without any justification by plaintiffs.” Id. at *7.

  The problem with Martarello is that it involved a non-compete executed in the employment context and

  not within the context of a lease agreement. This is a material difference because, as fully briefed infra,

  in Section II, the standard applicable to employment non-competes is much different than the standard

  applied to other non-competes, particularly those in the sale of business and lease agreement contexts.

  Moreover, in Martarello, the non-compete at issue lacked any geographic scope whatsoever which is a

  significant and meaningful difference from the non-compete included in the Coram Lease, which is

  narrowly tailored to the specific geographic area around SiteOne’s Coram location.

          Defendants’ position with respect to the reasonableness of the non-competes are thus non-

  starters and should be given short shrift by this Court.

   II.    The “Reasonableness” Standard Applies to the Coram Lease Non-Compete.

          Defendants argue that, despite the non-compete agreement at issue in the Coram Lease being

  executed as part of the sale of Garden Department to SiteOne, it should be subject the heightened judicial

  scrutiny applicable to non-compete provisions in employment agreements because at some point after

  the Coram Lease was signed Vic was hired by his son, Don, as an employee of SiteOne. (ECF Doc. No.

  98 p. 12, n. 12.) This argument is not only illogical, but it is neither legally nor factually supported.

          There is no dispute that New York courts apply a stricter standard to covenants between

  employees and employers as compared to those in the sale-of-business context. See e.g., Juniper Ent.,

  Inc. v. Calderhead, 2007 WL 9723385, at *6 (E.D.N.Y. Aug. 17, 2007) (“Covenants not to compete

  usually arise in two different contexts: in connection with the sale of a business and as adjunct to an

  employer-employee relationship. Each is given a different analysis.”). Here, however, no facts in this

  case—and no language in the Coram Lease—suggest that the Coram Lease and its non-compete were

  made or entered into in connection with Vic’s future employment by SiteOne. Nothing in Coram Lease




                                                       7
Case 2:23-cv-02084-GRB-ST Document 101 Filed 12/07/23 Page 8 of 10 PageID #: 1107




  mentions Vic being employed by SiteOne. Nothing in the Coram Lease restricts Vic in his employment

  or from working for a competitor.2 The Coram Lease was and is not connected to Vic’s past, present,

  or future employment. Thus, there is no basis for this Court to apply to the stricter standards applicable

  to non-competes in the employment context to the Coram Lease.

           Rather, the Coram Lease was executed and became effective simultaneously with the asset

  purchase agreement. (ECF Doc. Nos. 1-1, 1-2.) There is no reasonable doubt that the Coram Lease was

  entered into in connection with the sale of Garden Department to SiteOne. Any argument by Vic that

  the Coram Lease and its non-compete provision were not ancillary to the asset purchase is disingenuous.

  The Coram Lease specifically references and discusses its connection with the asset purchase agreement

  (Coram Lease §§ 9.1, 9.2, 24.1) and incorporates several definitions and other components from the

  asset purchase agreement into the Coram Lease. (Coram Lease § 24.9.) And Vic is a direct beneficiary

  of the sale which afforded him the opportunity to lease his property to SiteOne, a necessary element of

  the sale, and collect hundreds of thousands of dollars in rent payments.

           Restrictive covenants are ancillary to the sale of a business when they are executed

  contemporaneously with the sale. See e.g., Weiser LLP v. Coppersmith, 859 N.Y.S.2d 634, 635 (1st

  Dep’t 2008) (finding restrictive covenant ancillary to a merger agreement where the partnership

  agreement including the covenant referenced the merger agreement and was signed simultaneously with

  it). Non-competes executed in the sale-of-business context “will be enforced if the covenant is

  ‘reasonable,’ that is, not more extensive, in terms of time and space, than is reasonably necessary

  to the buyer for the protection of his legitimate interest in the enjoyment of the asset bought.”

  Intertek Testing, 443 F. Supp. 3d at 336–37; see also DAR & Assocs., Inc. v. Uniforce Servs., Inc., 37


  2
   Vic is instead restricted from leasing or making available any land or building to any person or business entity engaging in
  a business activity that competes with SiteOne within 10 miles of SiteOne’s Coram location during the lease and for 12
  months thereafter. (Am. Compl. ¶ 36; Ex. 2.)



                                                               8
Case 2:23-cv-02084-GRB-ST Document 101 Filed 12/07/23 Page 9 of 10 PageID #: 1108




  F. Supp. 2d 192, 197 (E.D.N.Y. 1999) (“[r]easonable restrictive covenants ancillary to the sale of a

  business are routinely enforced to protect the goodwill paid for by the purchaser.”). This is the

  appropriate standard for this Court to apply.

          New York courts routinely enforce non-compete agreements in connection with the sale of a

  business involving “the transfer of its good will as a going concern.” Intertek Testing Servs., N.A., Inc.

  v. Pennisi, 443 F. Supp. 3d 303, 336–37 (E.D.N.Y. 2020) (entering preliminary injunction for breaching

  non-compete in connection with the sale of a business). This is because a buyer of a business should be

  permitted to restrict the sellers to prevent the latter from recapturing and utilizing the good will of the

  business which was sold for value. Id. (internal citation omitted).

          Defendants cite a single but easily distinguishable case, Herndon v. Waller, 525 S.E.2d 159 (Ga.

  Ct. App. 1999), in support of applying the heightened standard. In Waller, a lessee signed a lease with

  a non-compete restricting his ability to operate as a veterinarian within 15 miles for two years after the

  lease ended. Id. at 160. The Court acknowledged the differing standards applied to non-competes in

  employment agreements versus sales of business but found that the covenant “did not fit neatly into

  either category.” Id. The Court explained that “the rationale behind the distinction in analyzing” non-

  competes in employment contracts and those in contracts stems from the parties’ bargaining power. Id.

  The Court in Waller applied the heightened standard because the unusual non-compete restricted the

  lessee and not the lessor, and because the lessee received no consideration for his covenant not to

  compete. Id. at 160–61. The Court held “[t]hese distinctions justify the application of a higher level of

  scrutiny.” Id. No such justifications exist to apply a heightened level of scrutiny here, since (1) the

  Coram Lease was executed in conjunction with SiteOne’s $30+ million purchase of Garden Department

  between sophisticated business parties, and (2) the non-compete restricts the seller-side parties who are

  receiving $15,000 per month in rent from SiteOne.




                                                      9
Case 2:23-cv-02084-GRB-ST Document 101 Filed 12/07/23 Page 10 of 10 PageID #: 1109




           The terms of the Coram Lease are entirely reasonable and are narrowly tailored to protect

  SiteOne’s interests. Vic’s status as an employee of SiteOne following the asset purchase is irrelevant,

  as the restrictive covenant contained in the Coram Lease would apply to, and be enforced equally

  against, any other individual or entity serving as the Landlord under the Coram Lease or deemed to be

  the Landlord’s beneficiary in similar circumstances—regardless of their employment (or lack thereof)

  with SiteOne. As such, Defendants’ argument to the contrary is meritless.3

                                                        CONCLUSION

           SiteOne has established a likelihood of success on the merits of its claim, and this Court should

  grant SiteOne’s request for a preliminary injunction.

  Dated: December 7, 2023

                                                                     TROUTMAN PEPPER
                                                                     HAMILTON SANDERS LLP

                                                                     By: John S. Gibbs III

                                                                     John S. Gibbs III (admitted pro hac vice)
                                                                     600 Peachtree Street, NE, Suite 3000
                                                                     Atlanta, Georgia 30308
                                                                     Phone: (404) 885-3000
                                                                     email: evan.gibbs@troutman.com

                                                                     Daniel E. Gorman
                                                                     875 Third Avenue
                                                                     New York, New York 10022
                                                                     Phone: (212) 704-6000
                                                                     email: daniel.gorman@troutman.com

                                                                     Attorneys for SiteOne Landscape Supply, LLC


  3
    In an apparent effort to gain sympathy from this Court, Defendants’ briefing to date disingenuously refers to Vic’s right to
  “earn a livelihood,” using that phrase and other descriptors to paint Vic as a blue-collar worker trying to put food on the
  table who is being pushed around by a sinister corporate bully. This could not be further from the truth. A cursory Google
  search for Vic Caroleo and his public social media profiles evidence Vic’s over-the-top, opulent lifestyle, complete with
  lavish homes in New York and Florida, high-end luxury cars, frequent air and other travel, along with other extravagances.
  Vic—again, who’s company is receiving $15,000/month in rent from SiteOne—is far from the put upon worker deserving
  of sympathy as “the little guy” he paints himself to be.



                                                               10
